Exhibit A
FILED: NASSAU COUNTY CLERK 02/18/2022 05:40 PM                                              INDEX NO. 602168/2022
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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF NASSAU

             BENJAMIN LANDA,                                        Index No.

                                                  Plaintiff,        Plaintiff designates Nassau
                                                                    County as the place of trial based on
                                 - against -                        plaintiff’s residence located at
                                                                    182 Briarwood Crossing
             AMERICAN PROSPECT INC., MAUREEN                        Lawrence, New York
             TKACIK, AND DAVID DAYEN,

                                          Defendants.
                                                                    SUMMONS


             To The Above-Named Defendants:

                            YOU ARE HEREBY SUMMONED to answer the complaint in this
             action and to serve a copy of your answer, or if the complaint is not served with this
             summons, to serve a notice of appearance on the plaintiff’s attorneys within twenty
             (20) days after the service of this summons, exclusive of the day of service (or within
             thirty (30) days after the service is complete if this summons is not personally
             delivered to you within the State of New York); and in case of your failure to appear
             or answer, judgment will be taken against you by default for the relief demanded in
             the verified complaint.

             Dated:   New York, New York
                      February 18, 2022
                                                               ZEICHNER ELLMAN & KRAUSE LLP

                                                                /s/ J. David Morrissy
                                                          By________________________________
                                                             J. David Morrissy
                                                             Attorneys for Plaintiff
                                                             1211 Avenue of the Americas
                                                             New York, New York 10036
                                                             (212) 223-0400
                                                             dmorrissy@zeklaw.com




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             TO:    AMERICAN PROSPECT INC.
                    1225 I St. N.W., Ste. 600
                    Washington, DC 20005

                    MAUREEN TKACIK
                    5120 7th Street NW
                    Washington, DC 20011

                    DAVID DAYEN
                    913 Marco Place
                    Venice, CA 90291



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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF NASSAU

              BENJAMIN LANDA,                                           Index No.:

                                           Plaintiffs,

                                    - against -                         VERIFIED COMPLAINT

              AMERICAN PROSPECT, INC., MAUREEN
              TKACIK, AND DAVID DAYEN,

                                           Defendant.



                           Plaintiff Benjamin Landa (“Mr. Landa”), by his attorneys, Zeichner

             Ellman & Krause LLP, for his complaint, allege the following upon information and

             belief.


                                        NATURE OF THE ACTION


                           1.      Defendants Maureen Tkacik (“Tkacik”), David Dayen (“Dayen”)

             and The American Prospect (“American Prospect”) maliciously defamed Mr. Landa,

             causing him economic and reputational harm.


                           2.     On January 26, 2022, Tkacik, Dayen, and American Prospect

             published an article to American Prospect’s website (www.prospect.org) wrought with

             inflammatory, malicious, and demonstrably false allegations about Mr. Landa (and

             several other nursing home owners and operators) (the “Defamatory Article”).


                           3.     The Defamatory Article had no purpose other than to defame Mr.

             Landa, presumably to drive website traffic based on the sensational nature of its

             inflammatory and defamatory content.




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                            4.     Defendants’ defamation of Mr. Landa remains accessible online to

             date, and therefore continues to damage his reputation and business interests.


                                                 THE PARTIES


                            5.     Mr. Landa is a resident of Nassau County, New York and is a

             known and successful operator of nursing homes.


                            6.     American Prospect, Inc., is a 501(c)(3) nonprofit corporation

             headquartered in Washington, D.C.


                            7.     Tkacik is a resident of Washington, District of Columbia and is the

             author of the Defamatory Article.


                            8.     Dayen is a resident of the State of California, and is the executive

             editor of American Prospect. As such, he participated in the production and publication

             of the Defamatory Article.


                                          JURISDICTION AND VENUE


                            9.     This court has jurisdiction pursuant to CPLR § 301 and venue is

             proper pursuant to CPLR § 503.


                                              RELEVANT FACTS


                            10.    On January 26, 2022, American Prospect published the libelous

             Defamatory Article entitled “The Nursing Home Slumlord Manifesto” to its website.




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                             11.     The Defamatory Article, written by Tkacik, is a “hit piece”

             overflowing with unsupported, false, and damaging statements about Mr. Landa and his

             business affairs, published under the guise of journalism.


                             12.     The purported topic of the Defamatory Article is a federal lawsuit

             that was filed in New York in December 2021, in which Mr. Landa is a plaintiff.


                             13.     However, Tkacik uses the lawsuit only as a pretense to launch into

             repeated flagrant defamation of Mr. Landa (among others) in the unhinged diatribe she

             styles a “manifesto.”


                             14.     Tkacik begins her “manifesto” by falsely asserting that Mr. Landa

             has a criminal history, and falsely alleging “documented” crimes committed by Mr.

             Landa, including “human trafficking”, “Medicare and Medicaid fraud”, and unspecified

             crimes relating to the alleged deaths of residents at Mr. Landa’s facilities purportedly

             attributed to staffing issues.


                             15.     The Defamatory Article goes on to conclusorily and incorrectly

             recite as fact that income from at least one nursing home owned by Mr. Landa would be

             confiscated under a “safe staffing law”.


                             16.     In the Defamatory Article, Tkacik also falsely claims that the

             nursing homes Mr. Landa is affiliated with are designated as Special Focus Facilities by

             the Centers for Medicare & Medicaid Services.




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                             17.   Additionally, Tkacik uses the Defamatory Article to falsely state

             that several other nursing homes that are plaintiffs in the subject federal lawsuit are

             “connected to the Landa elder abuse keiretsu.”


                             18.   Dayen allowed and caused this defamatory Article to be published

             without checking the facts, source accuracy, or the veracity of the claims made therein.


                             19.   Each of the Defendants publicly published statements that are and

             were false.


                             20.   Those statements greatly damaged Mr. Landa in several ways.


                             21.   Mr. Landa was damaged in his profession/trade by Defendants’

             defamatory comments about his business affairs and their published false statements

             about his involvement in criminal activity.


                             22.    Mr. Landa’s reputation in his trade and profession, in his

             community, and among his family, was damaged because of Defendants’ defamatory

             statements.


                             23.   Finally, Mr. Landa has and continues to suffer monetary loss

             because of the effect of Defendants’ defamatory statements.


                             24.   Because of Defendants’ malice, Mr. Landa was exposed to

             contempt, ridicule, aversion, and disgrace that he would have otherwise not been

             subjected to.




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                             25.     It is also evident that Defendants were motivated by spite, and ill

             will, and potentially anti-Semitic bias, towards Mr. Landa.


                             26.     In the Article, Tkacik goes out of her way to highlight that Mr.

             Landa, along with the other individuals affiliated with his purported “nursing home

             cartel” are Orthodox Jews. She then went on to analogize that religious community to

             the “mafia” and referred to Mr. Landa as the “Alpha Boss” of the “cartel”.


                             27.     The inference Tkacik implicitly invites her readers to draw from

             her statements is that Mr. Landa’s faith can somehow be construed as evidence of his

             purported nefarious business dealings, and that he is the root cause of each of her

             demonstrably false allegations all involving the Orthodox Jewish Community.


                             28.     Defendants published all of the aforementioned defamatory

             statements with malice, with knowledge of their falsity, with serious doubts relating to

             their veracity, or with reckless disregard for their falsity.


                             29.     Additionally, Defendants’ demonstrably false statements were

             intended to cause, and actually caused, damage to Mr. Landa.


                             30.     Mr. Landa, by his attorneys, sent a letter on January 27, 2022, to

             Dayen demanding that the defamatory Article be removed from American Prospect’s

             website.


                             31.     Dayen’s response was a curt and conclusory statement that he had,

             in fact, verified the veracity of the statements published in the Defamatory Article. This,

             of course, is false.




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                                            FIRST CAUSE OF ACTION
                                                    (Libel)


                             32.      Mr. Landa repeats and realleges the allegations contained in

             paragraphs 1 through 31.


                             33.      As set forth herein, Defendants, individually and in concert,

             published several false statements about Mr. Landa via the Defamatory Article.


                             34.      Those statements were meant to convey, among other things, that

             Mr. Landa is a criminal, untrustworthy, unscrupulous, incapable, acted improperly, used,

             and abused patients, syphoned funds away from his nursing homes for personal benefit and

             to their detriment, and, by his actions and inactions endangered patients, employees, and the

             public.


                             35.      Defendants published all of the Defamatory Article (and each of

             the defamatory statements therein) with malice, with knowledge of their falsity, with

             serious doubts relating to their veracity, or with reckless disregard for their falsity.


                             36.      All the referenced statements were, in fact, false.


                             37.      As a result of Defendants’ malicious statements about him, Mr.

             Landa suffered monetary loss, damage to his trade/profession, and reputational harm as

             set forth herein.


                             38.      Therefore, the statements that Defendants made about Mr. Landa

             constitute defamation.




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                             39.    As such, Mr. Landa is entitled to recover special (compensatory)

             damages and punitive damages from Defendant in an amount to be determined at trial but

             no less than the jurisdictional limit of the Court.


                                         SECOND CAUSE OF ACTION
                                               (Libel Per Se)


                             40.    Mr. Landa repeats and realleges the allegations contained in

             paragraphs 1 through 39.


                             41.    As set forth herein, Defendants, individually and in concert,

             published several false statements about Mr. Landa via the Defamatory Article.


                             42.    Those statements were meant to convey, among other things, that

             Mr. Landa is a criminal, untrustworthy, unscrupulous, incapable, acted improperly, used,

             and abused patients, syphoned funds away from his nursing homes for personal benefit and

             to its detriment, by his actions and inactions endangered patients, employees, and the public.


                             43.    Defendants made the statements with knowledge of their falsity,

             with serious doubts relating to their veracity, or with reckless disregard for their falsity.


                             44.    All the referenced statements were, in fact, false.


                             45.    As a result of Defendants’ malicious statements about him, Mr.

             Landa suffered monetary loss, damage to his trade/profession, and reputational harm as

             set forth herein.


                             46.    Therefore, the statements that Defendants made about Mr. Landa

             constitute defamation per se.




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                            47.     As such, Mr. Landa is entitled to recover special (compensatory)

             damages, presumed damages, and punitive damages from Defendants in an amount to be

             determined at trial but no less than the jurisdictional limit of the Court.


                                          THIRD CAUSE OF ACTION
                                            (Permanent Injunction)


                            48.     Mr. Landa repeats and realleges the allegations contained in

             paragraphs 1 through 47.


                            49.     Defendants have engaged in publishing defamatory statements

             about Mr. Landa.


                            50.     Defendants are seemingly motivated by personal gain, and

             potentially by prejudice.


                            51.     Therefore, Defendants should be ordered to immediately remove

             the Defamatory Article and any reference to it from American Prospect’s website and all

             of Defendants’ collective online presence.


                            52.     Additionally, Defendants should be enjoined from making further

             defamatory statements about Mr. Landa.




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          WHEREFORE, Mr. Landa respectfully demands judgment against Defendant as follows:

                   (a) On the FIRST CAUSE OF ACTION, a money judgment in an amount to be determined

                      after trial, but in no event less than the jurisdictional limit of the Court together with

                      interest thereon;

                   (b) On the SECOND CAUSE OF ACTION, a money judgment in an amount to be

                      determined after trial, but in no event less than the jurisdictional limit of the Court

                      together with interest thereon;

                   (c) On the THIRD CAUSE OF ACTION, an order directing Defendants to remove the

                      Defamatory Article and all reference to it from their collective web presence and

                      permanently enjoining Defendants from making any further defamatory statements

                      about Mr. Landa;

                   (d) Punitive damages against Defendants for their malicious defamation of Mr. Landa

                      sufficient to punish Defendants for their conduct and deter the type of conduct

                      complained of herein;

                   (e) Attorneys’ fees and the costs of this action;

                   (f) Such other and further relief as this Court deems just and proper.


          Dated:      New York, New York
                      February 18, 2022
                                                               ZEICHNER ELLMAN & KRAUSE LLP


                                                                 /s/ J. David Morrissy
                                                         By:
                                                               J. David Morrissy
                                                               Attorneys for Plaintiff Benjamin Landa
                                                               1211 Avenue of the Americas
                                                               New York, New York 10036
                                                               (212) 223-0400




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                                                  VERIFICIATION


          STATE OF NEW YORK
          COUNTY OF NEW YORK

          The undersigned affirmant, an attorney admitted to practice in the Court of New York State shows:
          affirmant is an attorney with the law firm of Zeichner Ellman & Krause LLP, the attorneys of
          record for plaintiff Benjamin Landa; affirmant has read the foregoing Verified Complaint and
          knows the contents thereof; and the same is true to deponent’s own knowledge except as to the
          matters therein stated to be alleged on information and belief, and that as to those matters affirmant
          believes them to be true. This verification is made by affirmant and not plaintiff because plaintiff
          is not in the same county in which affirmant maintains his office.

          The undersigned affirms that the foregoing statements are true, under the penalties of perjury.

          Dated:     New York, New York
                     February 18, 2022

                                                                  /s/ J. David Morrissy
                                                           ________________________________
                                                                    J. David Morrissy


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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NASSAU                                           Index No.:


          BENJAMIN LANDA,

                                          Plaintiff,

                    - against -

          AMERICAN PROSPECT, INC., MAUREEN TKACIK, AND
          DAVID DAYEN,

                                          Defendants.



                                   SUMMONS AND VERIFIED COMPLAINT




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                                        NEW YORK, NEW YORK 10036
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